                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )       Criminal No. 3:12-00198
                                                  )       Judge Trauger
[1] PHILIP BRENT JOHNSON                          )

                                         ORDER

       It is hereby ORDERED that this case is set for a change of plea hearing on Thursday,

February 27, 2014, at 11:00 a.m.

       It is so ORDERED.

       ENTER this 21st day of February 2014.


                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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